      Case 1:19-cr-02032-SMJ          ECF No. 169     filed 06/03/20   PageID.801 Page 1 of 2




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6
                              UNITED STATES DISTRICT COURT
7
                          EASTERN DISTRICT OF WASHINGTON
8

9
     UNITED STATES OF AMERICA,
10
                 Plaintiff,                           Case No. 1:19-cr-2032-SMJ-1
11
            v.                                        NOTICE OF WITHDRAW OF ECF NO. 146
12                                                    (MOTION TO SUPPRESS DEFENDANT’S
     JAMES DEAN CLOUD,                                STATEMENTS)
13
                 Defendant.
14

15

16

17         JAMES DEAN CLOUD, by counsel, Lorinda Meier Youngcourt of the

18   Federal Defenders Office of Eastern Washington and Idaho, notifies the Court and

19   Assistant U.S. Attorneys he withdraws his Motion to Suppress Defendant’s

20   Statements, ECF No. 146.

21
     NOTICE OF WITHDRAW OF ECF NO. 146 - 1
      Case 1:19-cr-02032-SMJ      ECF No. 169     filed 06/03/20   PageID.802 Page 2 of 2




1    Dated: June 3, 2020

2                                             /s/Lorinda Meier Youngcourt
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6
                                     Certificate of Service
7
           I certify that on June 3, 2020, I electronically filed the foregoing with the Clerk
8
     of the Court using the CM/ECF System which will send notification of such filing to
9
     THOMAS J. HANLON and RICHARD C. BURSON, Assistant United States
10
     Attorneys.
11
                                              /s/Lorinda Meier Youngcourt
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     NOTICE OF WITHDRAW OF ECF NO. 146 - 2
